Case 2:22-cv-07326-MCA-LDW Document 291-15 Filed 01/31/24 Page 1 of 10 PageID: 9919




                            Exhibit 14.15
                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
Case 2:22-cv-07326-MCA-LDW Document 291-15 Filed 01/31/24 Page 2 of 10 PageID: 9920




                  EXHIBIT A-44
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                            ALCD-PUBCOM 0005862
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      Case 2:22-cv-07326-MCA-LDW DocumentG-11©
                                          291-15N.P.
                                                 Filed 01/31/24 Page 3 1)
                                                                       of 10
                                                                           J. PageID:
                                                                               Dorsky 9921
                                                                                                2) P. Doucette
       4\PRODUCT                      .{FROIL2.,. 4 , S-TRTCHLOROPHENOL PURE
                                          USING TOLUENE AS SOLVENT)                             3     Genet
          OPERATION                                                                             4) A. Gesener
                                                              •
          Bldg. No.     Unit No.               Type of Unit       PART 1                        5) S. Go
                                                                                                6) P. Gross
                                                                                                fi    g`     taki
  E         58         TZ-170      Glass Lined Reactor, 750-Gallon                              8) C. Snyder
            82         TZ-114      Glass Lined Reactor, 300-Gallon                              9) V. Weglowski
  Q                                                           -Gallon                          10) Production Directors
  U
  1         82        .TU-147      Glass Lined Feed Tank, 150                                  11) Geneva (2)
  P                                                                                                t~• tC.1,.,~w P •, a -21
                                                                                                   V     G x. t - ~l
          WW
          Lbs:                      Material                       Analysis                                         " fr7 I t-'

              600 Trichlorophenol Pure                            Specific Gravity:           1.30
 C        1,650 Sulfuric Acid 93%                                 Specific Gravity:           1.83
 H
 A            198 Methyl Alcohol                                  Specific Gravity:           0.792
 R
 G            132 Aqueous Formaldehyde, 37%
 E            600 Water


         TRICHLOROPHENOL: WARNING!                  Dust and fumes irritating to eyes, nose and
         throat. Do not breathe dusts or fumes. Avoid contact with skin. Wear
         chemical goggles or face shield, apron, rubber gloves and OV respirator
         with dust filter when handling.
 S       SULFURIC ACID 93%: DANGER! Causes severe burns. Avoid all contact.
 A       Wear chemical goggles and/or face shield, apron and rubber gloves. Avoid
 F       breathing mist, wear acid gas respirator if irritating to respiratory
. T      system.
  Y      METHYL ALCOHOL: DANGER! • Flammable. Prolonged or repeated breathing of
         vapor harmful. Ground all equipment and containers. Wear gloves, full
         goggles and/or face shield when handling.

         FORMALDEHYDE 37%: DANGER! Vapor or liquid causes skin, eye, nose and
         throat irritation. Wear OV respirator, rubber gloves and full goggles
         and/or face shield when handling.                         Avoid all contact with skin.


          Step No.                             Procedure                      [With Brief Special Remarks]

            1.        Check that reactor TZ-114 in Building 82 is clean.
0           2.        Charge by vacuum 1,650 lbs. Sulfuric Acid 93% to TZ-114.
P           3.• Charge by vacuum 198 lbs. Methyl Alcohol to feed Tank TU-147.
E
R           4.       Turn on agitation and cool batch in TZ-114 to 20°C with cooling
A                    water.
T
1           5.       With cooling water on, slowly feed 198 lbs. Methyl Alcohol over
                     1/2 hour to Sulfuric Acid. Keep batch temperature below 40°C
 G
 N                   with cooling water and controlling feed of Methyl Alcohol.
            6.       Drain to polyethylene lined drums at 20-25°C and move to building
P                    58. Wear full face shield, apron and rubber gloves while draining.
0
C           7.       Check that reactor TZ-170 in Building 58: is clean.
E
D           8.       Charge by vacuum Sulfuric Acid/Methyl Alcohol mixture to reactor
U                    TZ-170. Start agitation.
R
E           9.       Heat charge in reactor to 70-75°C.

                                                                                                    GIVA-FED-0000000171
                                                                                                      ALCD-PUBCOM 0005863
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 0     10.      Charge by vacuum 600 lbs. (1 drum) TCP Pure from hot box.
 P
 E     11.      With reactor at 75°C, slowly, over approximately 30 minutes, add
 R              from a suspended drum with scale 132 lbs. Aqueous Formaldehyde.
 A              Maintain batch at 75-80°C with cooling water, if necessary.
 I     12.      Heat charge in reactor to 80°C and agitate 1 hour.
 N
 G     13.      After 1 hour agitation, slowly, over 30 minutes, add 600 lbs.
                (72-gal.) of water through the meter, maintaining the temperature
 P              below 90°C. Agitate 5 minutes.
 R
 0     14.      After water is added, take a gallon sample. Sample taken from
 C              manhole without agitation. Wear full protective gear, face shield,
 E              respirator with OV cartridge, rubber gloves and apron. (See Note 1).
 D
 U
 R
 E

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                           Material                    Analysis           Containers, Disposition, etc.

P
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M     Note 1:      Sample is taken to check consistency of batch.                 Should be
I                  granular. See supervisor before continuing.
S
C.
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                                                                                    GIVA-FED-0000000172
                                                                                      ALCD-PUBCOM 0005864
        Case 2:22-cv-07326-MCA-LDW
    • PROCESS  INSTRUCTION FORM    Document 291-15 Filed 01/31/24GIVAUDAN    CORPORATION
                                                                  Page 5 of 10 PageID: 9923

        PRODUCT            r-11® N D                        PART II

        OPERATION        Steaming and Separation
        Bldg. No. Unit No.          Type of Unit                                     Remarks


E          58
           59
                     TZ-170
                     TY-134
                              Glass Lined Reactor, 750-Gallon
                              #1 Settler, 1,000-Gallon Steel
Q
U                                                 -
I
P
           Wt                  Material               Analysis                       Remarks

         1,800 lbs.        Toluene
C
A           400 lbs.       Toluene for wash
A
R
G
E



         TOLUENE: WARNING! Flammable. Breathing vapor may be harmful.
         Causes eye injury and skin irritation. --Ground al-I containers. Wear
         gloves and goggles or face shield when handling.

S
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         Step No.                         Procedure              [With Brief Special Remarks]

         15.        Open drain valves frpm reactor condenser to run. distillate to
0                   sewer. Turn on warm water (iv 70°)' to condenser (to prevent TCP
P                   from congealing). (Note 2).
E
R        16.        Heat reactor TZ-170 to 100°C.
A
T        17.        With steam on the reactor jacket, inject live , team through
I                   bottom drain. Pot temperature rises rapidly to 125-130°C, then
N                   slowly drops to 115-120°C during steaming.
G
         18.        Steam for 2 hours and check distillate with..10% Ferric Chloride
P                   Solution (See Note 3). Continue steaming if TCP test positive.
R
0        19.        When steaming is complete, cool batch to 100.°C and take a level
C                   reading from 2" nozzle. If reading 50" (450-gal.) or greater
E                   proceed. If less than 50", stop agitator and allow the batch
                    to settle for 1/2 hour. Then siphon off top water layer to 50"
U
R                   level.
E        20.        Set valves to run distillate from reactor condenser back to
                    reactor. Change condenser water from warm to cold.


FM 80-5C 12/77


                                                                                            GIVA-FED-0000000173
                                                                                              ALCD-PUBCOM 0005865
       Case 2:22-cv-07326-MCA-LDW Document 291-15 Filed 01/31/24 Page 6 of 10 PageID: 9924

           21.    Charge by vacuum 1,800 lbs. Toluene to TZ-170.
P          22.    Heat to reflux (92-95°C). Reflux 1/2 hour, then shut agitation
E                 and jacket steam and settle 1 hour. Keep batch temperature at
R
A                 95°C.
T          23.    Drain bottom acid layer from reactor to polyethylene lined
I
                  drums. Wear full protective gear, face shield, rubber gloves
G                 and apron. Take 1 gallon sample. Have 8-10 polyethylene
                  lined drums on hand per batch.
P
R          24.    Preheat settler TY-134 in Building 59. Transfer batch charge
0                 from reactor to settler TY-134, then immediately transfer to
                  treatment tank TZ-168 in Building 59.
E
D          25.    Charge by vacuum 400 lbs. Toluene to reactor TZ-170, pump to
U                 settler TZ-134, then to treatment tank TZ-168 to clean reactor,
R                 settler, and transfer lines.
E
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                                                                                                         .iC




         Wt.                Material                    Analysis          Containers, Disposition, etc

P     3,700-4,000 lbs. Spent Sulfuric Acid                         55-gal. polyethylene lined
R                                                                  drums. If material balance
0                                                                  of batch OK, drain to sewer.
D
U
C
T
S


M      Note 2:      Discharge connection pipe from condenser during steaming should
I                   be extended to lead directly to sewer.
S
C.     Note 3:      For TCP test - 25 mls. distillate at 25°C, add 5 drops 10% FeC13
                    solution. If purple, continue steaming. If yellow or yellowish
N
0                   orange, steaming complete.
T
E

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       Case 2:22-cv-07326-MCA-LDW
     PROCESS   INSTRUCTION FORM Document 291-15 Filed 01/31/24 GIVAUDAN
                                                                Page 7 of 10CORPORATION
                                                                             PageID: 9925

        PRODUCT       G-11© NP.                                    PART III

        OPERATION necolorization and Filtration
        Bldg. No. Unit No.     Type of Unit                                                Remarks

         59         TZ-168          Treatment Tank, 1,000-Gallon Steel
E
Q        59         FL-9633 Sparkler Filter
U        59         TZ-31   Storage Tank,   1,000-Gallon Glass-Lined
P
            Wt.                      Material               Analysis                       Remarks

            70     lbs.   Filtrol Grade #4
C
H            3     lbs.   Hyflo Super-Cel
A        100 gals.        Toluene
R
G
E



       FILTROL: CAUTION! Not known to be hazardous.                           Wear dust mask if heavy
       dusting occurs while handling.
       SUPER-CEL: WARNING! Diatomaceous Silica. Inhaling dust harmful.
       Dust mask or cartridge respirator with dust filter MUST be worn when
S      handling.
A
F      TOLUENE: WARNING! Flammable. Breathing vapor may be harmful. Causes
E      eye        and skin irritation. Ground all containers. Wear gloves
T      and goggles or face shield when handling.
Y
       STIK TIGHT ROUGH CEMENT: CAUTION! May be irritating. Wear dust mask
       if heavy dusting occurs while handling. Material is asbestos free.


        Step No.                                Procedure              (With Brief Special Remarks)

       1.        To G-11/Toluene solution in treatment tank TZ-168, charge 70 lbs.
O                Filtrol #4 and 3 lbs. Hyflo Super-Cel. Wear OV respirator with
p                dust filter when charging.
RA     2.        Reflux with agitation for 1-1/2 hours with temperature at 110-113°C.
                 A small amount of water will be azeotropically distilled to the
T                separator (10 lbs.).
I
N      3.        Heat jacket of sparkler filter FL-9633 for 15 minutes with full
G                steam.
p      4.        Cool batch in treatment tank TZ-168 to 100°C.
R
p      5.        Partially P    vent on top of sparkler,
                                                P      , close sparkler
                                                                P       drain valve
                             open
C                and pump batch from treatment tank to sparkler expelling air
E                through the vent valve.
D
U      6.        As soon as sparkler is full, shut vent valve and open sparkler
R                discharge valve sending the filtrate back to the treatment tank
E                on recycle. Keep sight glass full at all times by proper valve
                 adjustment.


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                                                                                                 GIVA-FED-0000000175
                                                                                                   ALCD-PUBCOM 0005867
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       7.   Recycle at 95-100°C for at least 15 minutes. When batch is
0
P           sparkling clear, take 1-gallon sample and label with time, date,
E           batch and operator. Check with supervisor before proceeding.
R
A      8.   If batch is not sparkling clear, add 4 lbs. of Super-Cel and 4 lbs.
T           Stik Tight Rough Cement to the pump filter basket and recycle
I           until batch is clear. If batch does not become sparkling clear,
N           check with supervisor.                              _
       9.   When batch is sparkling clear, switch from recycle and filter
P           batch into storage tank TZ-31, adjusting valves as required to
R           keep sight glass full, sparkling clear and free of air bubbles.
0
C           At this point, do not leave filtration unattended. Go back to
E           recycle tank TZ-168 if filtrate not sparkling clear. Do not
D           pump filtrate which is not clear into"storage tank TZ-31.
U
R     10.   Stop agitation in treatment tank TZ-168 when level is low. When
E           treatment tank is empty, stop pump and reset valves for recycle
            of filtrate to treatment tank for the next batch.
C
0     11.   Charge 100 gallons Toluene to treatment tank TZ-168 and heat to
N           reflux. At this point, open vent valve on sparkler and close
T           sparkler discharge valve. Pump agitated wash to sparkler,
I           expelling air from sparkler vent valve. When sparkler is full,
N
U           shut vent valve, open discharge valve to treatment tank and
E           recycle wash back to treatment tank TZ-168 until sparkling clear.
D.          When sparkling clear, pump wash into storage tank TZ-31. If wash
            not clear, check with supervisor.
      12.. When treatment tank is empty, repeat Step #11 but return this
           wash to treatment tank and allow sparkler to drain to treatment
           tank.'
      13. Filtrate which is not sparkling clear must never be pumped to
           storage tank TZ-31. Take a gallon sample from TZ-31 after
           filtration. Also take a 5-lb. sample of the filter cake from
           sparkler FL-9633. Wear OV cartridge respirator with dust mask
           rubber gloves and apron when handling samples.
      Wt.             Material              Analysis      Containers, Disposition, etc.

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     Case 2:22-cv-07326-MCA-LDW Document 291-15 Filed 01/31/24 Page 9 of 10 PageID: 9927
     PROCESS INSTRUCTION FORM                   —   _                       GIVAUDAN CORPORATION
        PRODUCT___r 110 NP_                                            PART IV

        OPERATION _,Steam D stillation (Solvent Stripping)
        Bldg. No. Unit No.      ' Type of Unit _                                       Remarks
           59        TZ-31   Storage Tank, 1,000-Gallon, Glass
 E         59        TZ-2
 Q                    or     Steam Still, 1,000-Gallon, Glass
IP         59        TZ-48

           Wt.               Marerial                   Analysis                        Remarks

               600 lbs. G-11'
                                               Solution
C      2,800-2,900 lbs. Toluene
H
A                    1-2 lbs. Oxalic Acid
R
G                    400 lbs. Toluene for wash
E



       G-11: May be irritating - full goggles and dust mask must be worn when
       exposed to powder.
       TOLUENE: WARNING: Flammable. Breathing vapor may be harmful. Causes
       eye injury and skin irritation.. Ground all containers. Wear gloves
S      and goggles or face shield when handling.
A
F      OXALIC ACID: DANGER! POISONOUS - Dust or solution can cause severe
E      burns of the skin, eyes and respiratory tract. Dust mask, full
T      goggles, and rubber gloves must be worn when handling.
Y




        Step No.                        Procedure                  [With Brief Special Remarks]

         'I.       Check that the Tiger filters and the GAF polishing filters are
0                  properly cleaned, installed, heated and ready for service.
P         2.       Check that distillate lines are open to the outside portable
RA                 tankcar and blocked off to the underground ethylene dichloride
                   storage tank. Portable tankcar will serve as a separator with
T                  the bottom aqueous layer to sewer and top Toluene layer to drums.
N         3.       Charge steam still TZ-2 or TZ-48 with 250 gallons of water and
G                  1-2 lbs. Oxalic Acid. Start agitator.
p         4.       Heat steam still to reflux (98-100°C) with live steam and
R                  jacket steam. Set valves so that distillate will pass through'
0                  liquid cooler and separator.
C
E         5.       Keep G-11/Toluene solution in storage tank TZ-31 at 90°C with
D                  steam on jacket.
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                                                                                            ALCD-PUBCOM 0005869
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    6.    When steam still temperature reaches 98-100°C, feed G-11/Toluene
          solution to steam still by way of polishing filters. Start with
          the following: Live steam - 6 lbs. then increase to 10 lbs.
                           Roto setting for feed - 2 then increase to 3
          Keep jacket steam on during the steam distillation. Steam still
          should never be run at positive pressure, which would indicate
          steam pressure is too high, feed rate too high or that the system
          has -a partial plug.
     7.   Keep batch in steam still at 95-98°C. If batch temperature drops
          below 95°C, increase jacket steam and slow feed rate. . Record
          steam pressure in jacket and live steam readings, rotameter set-
J
          tings and condenser water pressure. Take 1 gallon sample of water
J         and Toluene distillates.
    8.    When the holding tank TZ-31 is empty, rinse the lines between
          holding tank and steam still with 50 gallons of Toluene and feed
          to steam still.
     9.   Distill for 1/2 hour after the feeding is completed. Then check
          distillate for Toluene. When no Toluene is present, check the
r
          distillate for TCP with 10% Ferric Chloride.
J   10.   When batch is free of TCP, cool batch to 90°C, then pump batch to
          cooling tank in Building 60 (TZ-30). Wash out still with water.
    11.   Batch is then filtered (Building 60), dried (Building 60) and
          ground (Building 47).




                       Material                     Analysis          Containers, Disposition, etc.

P   550-585 lbs.   G-11 N.P.               Purity:        98%            Plastic
                                           Melting Point: 161-167         Lined
                                           Color:         White to Beige' Lever Paks
7
r
3


     1)   TCP Test: Add 5 drops 10% Ferric Chloride to 25 mis. of (1 oz.)
          distillate. If the color is purple, TCP is present, continue
          steaming. If the color is yellow or yellowish-orange, steaming is
          complete.
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